            Case 2:13-cr-00393-MCE Document 14 Filed 08/13/13 Page 1 of 2


1    BENJAMIN B. WAGNER
     United States Attorney
2    JUSTIN L. LEE
     Assistant U.S. Attorney
3    501 I Street, Suite 10-100
     Sacramento, CA 95814
4    (916) 554-2700
5

6

7

8                         IN THE UNITED STATES DISTRICT COURT

9                       FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,              ) 2:13-MJ-0222-KJN
                                            ) 2:13-MJ-0223-KJN
12               Plaintiff,                 )
                                            ) STIPULATION AND ORDER
13         v.                               ) CONTINUING PRELIMINARY HEARING
                                            ) DATE
14   MATTHEW LUKE GILLUM and                )
     JOLENE CHAN,                           )
15                                          ) Judge: Hon. Dale A. Drozd
                                            )
16               Defendants.                )
                                            )
17

18                                     STIPULATION

19         The United States, by and through its undersigned counsel, and

20   the defendants, by and through their counsel of record, hereby

21   stipulate as follows:

22      1. At the defendants’ initial appearance on July 24, 2013, this

23         matter was set for a Preliminary Hearing on August 8, 2013.

24         That Preliminary Hearing was subsequently continued to August

25         15, 2013, by stipulation of the parties.

26      2. By this Stipulation, the parties now move to continue the

27         Preliminary Hearing until September 5, 2013, at 2:00 p.m.,

28         before Magistrate Judge Edmund F. Brennan.

29

30   Stipulation to Continue                 1         United States v. Gillum et al.
              Case 2:13-cr-00393-MCE Document 14 Filed 08/13/13 Page 2 of 2


1       3. The parties have discussed a potential pre-indictment resolution

2          of this matter.        The parties need further time to discuss this

3          matter and discuss any potential consequences.

4    IT IS SO STIPULATED.

5

6    DATED: August 12, 2013                 /s/ Justin L. Lee   _
                                          JUSTIN L. LEE
7                                         Assistant U.S. Attorney
8    DATED: August 12, 2013                 /s/ Thomas A. Johnson     _
                                          THOMAS A. JOHNSON
9                                         Attorney for Matthew Gillum
                                          (as authorized on August 12, 2013)
10

11   DATED: August 12, 2013                 /s/ Michael L. Chastaine     _
                                          MICHAEL L. CHASTAINE
12                                        Attorney for Jolene Chan
                                          (as authorized on August 12, 2013)
13

14

15                                           ORDER

16         IT IS SO ORDERED.

17   Dated:    August 13, 2013
18

19

20
     Dad1.crim
     Gillum0223.stipord.cont.PE.docx
21

22

23

24

25

26
27

28

29

30   Stipulation to Continue                   2         United States v. Gillum et al.
